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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

DENNIS TOOLEY,                            )
an individual,                            )
                                          )                 CASE NO.:       1:17-cv-00781
              Plaintiff,                  )
vs.                                       )
                                          )
AARON’S, INC.,                            )
a Georgia Corporation,                    )
                                          )
              Defendant.                  )
_________________________________________ )

                                         COMPLAINT

       Plaintiff, DENNIS TOOLEY, through his undersigned counsel, hereby files this

Complaint and sues AARON’S, INC., a Georgia Corporation, for injunctive relief, attorneys’

fees and costs pursuant to 42 U.S.C. § 12181 et seq., (“AMERICANS WITH DISABILITIES

ACT” or “ADA”) and alleges:

                               JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as the

“ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

       3.      Plaintiff, DENNIS TOOLEY (hereinafter referred to as “MR. TOOLEY”), is a

resident of the State of Indiana in Johnson County.




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           4.        Plaintiff, MR. TOOLEY, is a qualified individual with a disability under the

ADA. MR. TOOLEY suffers from Multiple Sclerosis, which causes severe nerve damage and

affects his ability to walk and stand.

           5.       Due to his disability, Plaintiff MR. TOOLEY is substantially impaired in several

major life activities and requires the use of mobility aids including a wheelchair, walker and/or a

cane depending on his level of pain and fatigue on a daily basis 1.

           6.       Defendant, AARON’S, INC., (hereinafter referred to as “Aaron’s” or

“Defendant”), is a Georgia Corporation registered to do business in the State of Indiana. Upon

information and belief, Defendant is the owner, lessee, and/or operator of the real property and

improvements, an Aaron’s Retail Store, which is the subject of this action, to wit: the “Property,

generally located at 4407 Lafayette Road, Indianapolis, IN 46254. Defendant is responsible for

complying with the obligations of the ADA.

           7.       All events giving rise to this lawsuit occurred in the Southern District of Indiana.

                            COUNT I - VIOLATION OF TITLE III OF THE
                              AMERICANS WITH DISABILITIES ACT

           8.       Plaintiff realleges and reavers the preceding paragraphs as if they were expressly

restated herein.

           9.       The Property, a retail store, is open to the public and provides goods and services

to the public. Consequently, the Property is a place of public accommodation subject to the

ADA.

           10.      Plaintiff MR. TOOLEY has visited the Property numerous times over the past

year and attempted to utilize the goods and services offered at the Property. MR. TOOLEY


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    Mr. Tooley is capable of walking short distances without assistance on good days.

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plans to regularly return to the Property in the near future despite the barriers to access described

herein.

          11.   While at the property, MR. TOOLEY experienced serious difficulty accessing the

goods and utilizing the services due to the architectural barriers discussed herein.

          12.   MR. TOOLEY continues to desire to visit the Property, but fears that he will

again encounter serious difficulty and safety hazards due to the barriers discussed herein which

still exist.

          13.   Defendant is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et

seq. and are discriminating against the Plaintiff due to, but not limited to, their failure to provide

and/or correct, the architectural barriers to access below, which were personally encountered by

and hindered Plaintiff’s access to the Property:

                A.     Plaintiff encountered two inaccessible disabled use parking spaces at the

                       front of the store due to a ramp improperly placed in the access aisle of the

                       spaces. There store lacks any fully accessible parking spaces.

                B.     Additionally, the two disabled use parking spaces are located on severely

                       sloped ground.

                C.     Additionally, the two disabled use parking spaces do not have signage to

                       identify them exclusively for disabled use.

                D.     Plaintiff encountered inaccessible curb ramps at the front of the Property

                       due to excessive running slopes, steep side flare slopes, uneven pavement

                       in disrepair and a failure to provide smooth transitions. Additionally, as




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                       noted above, the curb ramp serving the disabled use parking spaces

                       improperly protrudes into the parking space access aisle.

       14.     Plaintiff has visited the entire premises described herein and encountered

numerous barriers throughout. The barriers described above represent a sample of said barriers

to access. Only after a full inspection is performed by an expert can all barriers be readily

identified and catalogued.

       15.     Independent of his intent to return as a patron to the Property, Plaintiff

additionally intends to return to the Property as an ADA tester to determine whether the barriers

to access stated herein have been remedied.

       16.     Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on Defendant.

       17.     Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       18.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

expenses paid by Defendant.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against Defendant, and requests the

following injunctive and declaratory relief:

       A.      That the Court declares that the Property owned, leased and/or

               operated by Defendant is in violation of the ADA;




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      B.     That the Court enter an Order directing Defendant to alter their

             facility to make it accessible and useable by individuals with

             disabilities to the full extent required by Title III of the ADA;

      C.     That the Court enter an Order directing Defendant to evaluate and

             neutralize their policies and procedures towards persons with

             disabilities for such reasonable time so as to allow Defendant to

             undertake and complete corrective procedures.

      D.     That the Court award reasonable attorneys’ fees, costs (including

             expert fees), and other expenses of suit, to the Plaintiff; and

      E.     That the Court awards such other and further relief as it deems

             necessary, just and proper.

Dated: March 15, 2017.



                                            Respectfully Submitted,


                                            KU & MUSSMAN, P.A.


                                    By:     Louis I. Mussman           .
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                                            and



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